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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

 IN RE: ZANTAC (RANITIDINE)                                                          MDL NO 2924
 PRODUCTS LIABILITY                                                                   20-MD-2924
 LITIGATION
                                                          JUDGE ROBIN L ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

 __________________________________/

 THIS DOCUMENT RELATES TO:                                    JURY TRIAL DEMANDED
 TERRANCE POWELL


                        SHORT-FORM COMPLAINT – VERSION 3

        The Plaintiff(s) named below, by counsel, file(s) this Short Form Complaint against

 Defendants named below. Plaintiff(s) incorporate(s) by reference the allegations contained in the

 Second Amended Master Personal Injury Complaint (“SAMPIC”) in In re: Zantac (Ranitidine)

 Products Lability Litigation, MDL No. 2924 (S.D. Fla). Plaintiff(s) file(s) this Short-Form

 Complaint – Version 3 as permitted by the Court’s Orders regarding motions to dismiss and

 specifically DE 3751 at 1, as outlined on page 1 of the SAMPIC.

        Plaintiff(s) select(s) and indicate(s) by completing where requested, the Parties and Causes

 of Actions specific to this case. Where certain claims require additional pleading or case specific

 facts and individual information, Plaintiff(s) shall add and include them herein.

        Plaintiff(s), by counsel, allege as follows:

                       I.      PARTIES, JURISDICTION, AND VENUE

    A. PLAINTIFF(S)

        1.    Plaintiff(s) TERRANCE POWELL__              (“Plaintiff(s)”) brings this action (check the
               applicable designation):

                        X      On behalf of [himself/herself];




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                               In representative capacity as the __________________, on behalf
                               of     the     injured    party,    (Injured  Party’s   Name)
                               ___________________.

        2.      Injured Party is currently a resident and citizen of (City,                      State)
                   Modesto, CA____________ and claims damages as set forth below.

                                                          —OR—

                   Decedent died on (Month, Day, Year) _______________. At the time of
                   Decedent’s death, Decedent was a resident and citizen of (City, State)
                   _________________________.

 If any party claims loss of consortium,
                                           (“Consortium Plaintiff”) alleges damages for loss of
        3.
              consortium.

        4.      At the time of the filing of this Short Form Complaint, Consortium Plaintiff is a
                citizen and resident of (City, State)
        5.      At the time the alleged injury occurred, Consortium Plaintiff resided in (City, State)
                _____________


    B. DEFENDANT(S)


        6.      Plaintiff(s) name(s) the following Defendants from the Second Amended Master
                Personal Injury Complaint in this action:
                                                            Boehringer Ingelheim Pharmaceuticals,Inc;
                   a. Brand-Name Manufacturers:
                                                            Sanofi-Aventis US, LLC., Pfizer, Inc.;
                                                            GlaxoSmithKline, LLC
                   b. Others Not Named in the SAMPIC:


    C. JURISDICTION AND VENUE


        7.      Identify the Federal District Court in which Plaintiff(s) would have filed this action
                in the absence of Pretrial Order No. 11 (direct filing) [or, if applicable, the District
                Court to which their original action was removed]: USDC for the Eastern
                                                                        District of California
        8.      Jurisdiction is proper upon diversity of citizenship.




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                                      II.    PRODUCT USE


       9.     The Injured Party used Zantac and/or generic ranitidine: [Check all that apply]

                      x         By prescription

                     X          Over the counter

       10.    The Injured Party used Zantac and/or generic ranitidine from approximately
                                         unknown .
              (month, year) 01/1998__to ________


                                   III.     PHYSICAL INJURY


       11.    As a result of the Injured Party’s use of the medications specified above, [he/she]
              was diagnosed with the following specific type of cancer (check all that apply):

  Check all Cancer Type                                          Approximate Date of
  that                                                           Diagnosis
  apply
            BLADDER CANCER
            BREAST CANCER
            COLORECTAL/INTESTINAL CANCER
  X         ESOPHAGEAL CANCER                                      01/2011
            GASTRIC CANCER
            KIDNEY CANCER
            LIVER CANCER
            LUNG CANCER
            PANCREATIC CANCER
            PROSTATE CANCER
            OTHER CANCER:

             DEATH (CAUSED BY CANCER)

       12.    Defendants, by their actions or inactions, proximately caused the injuries to
              Plaintiff(s).


                          IV.      CAUSES OF ACTION ASSERTED

       13.    The following Causes of Action asserted in the Second Amended Master Personal
              Injury Complaint are asserted against Defendants, and the allegations with regard
              thereto are adopted in this Short Form Complaint by reference.




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         14.     By checking the appropriate causes of action below, Plaintiff(s) assert these causes
                 of action based upon the law and applicable Sub-Counts of the following state(s): 1



     Check      Count                      Cause of Action                        States for which
     all that                                                                     the cause of action
     apply                                                                        was asserted in
                                                                                  the SAMPIC
        X         I      Strict Products Liability – Failure to Warn through      All States and
                         Warnings and Precautions                                 Territories, Except
                                                                                  DE, IA, MA, NC,
                                                                                  PA, and VA
       X          II     Negligence – Failure to Warn through Warnings            All States and
                         and Precautions                                          Territories, Except
                                                                                  LA, NJ, OH, and
                                                                                  WA
       X         III     Strict Products Liability – Failure to Warn through      All States and
                         Proper Expiration Dates                                  Territories, Except
                                                                                  DE, IA, MA, NC,
                                                                                  PA, and VA
       X         IV      Negligence – Failure to Warn through Proper              All States and
                         Expiration Dates                                         Territories, Except
                                                                                  LA, NJ, OH, and
                                                                                  WA
        X         V      Strict Products Liability – Design Defect Due to         All States and
                         Warnings and Precautions                                 Territories, Except
                                                                                  DE, IA, MA, NC,
                                                                                  PA, and VA
        X        VI      Strict Products Liability – Design Defect Due to         All States and
                         Improper Expiration Dates                                Territories, Except
                                                                                  DE, IA, MA, NC,
                                                                                  PA, and VA
        X       VII      Negligent Failure to Test                                KS, TX
        X       VIII     Negligent Product Containers 2                           All States and
                                                                                  Territories
        X        IX      Negligent Storage and Transportation                     All States and
                                                                                  Territories
        X         X      Unjust Enrichment (Against All Defendants)               All States and
                                                                                  Territories
                 XI      Loss of Consortium (Against All Defendants)              All States and
                                                                                  Territories
 1
   In selecting the relevant states above, Plaintiffs reserve all rights to argue choice of law issues at
 a later time.
 2
   This Count applies only to pills, not ranitidine-containing products in the form of syrups or
 injections.



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       Check      Count                       Cause of Action                       States for which
       all that                                                                     the cause of action
       apply                                                                        was asserted in
                                                                                    the SAMPIC
                   XII     Survival Actions                                         All States and
                                                                                    Territories
                  XIII     Wrongful Death                                           All States and
                                                                                    Territories



                                             V.      JURY DEMAND

           15.     Plaintiff(s) hereby demand(s) a trial by jury as to all claims in this action.



 VI.       PRAYER FOR RELIEF

           WHEREFORE, Plaintiff(s) has/have been damaged as a result of Defendants’ actions or

 inactions and demand(s) judgment against Defendants on each of the above-referenced causes of

 action, jointly and severally to the full extent available in law or equity, as requested in the Second

 Amended Master Personal Injury Complaint.



 Dated: 06/08/2022                                                s/Jeffrey L. Haberman
                                                                  Scott P. Schlesinger
                                                                  Jeffrey L. Haberman
                                                                  Jonathan R. Gdanski
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